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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                                  :
William Hoover, Stephanie Hoover, and             :
Merissa Hoover,                                   :
                                                  :
                                                    Civil Action No.: ______
                       Plaintiffs,                :
       v.                                         :
                                                  :
Windsor Group; and DOES 1-10, inclusive,          :
                                                  :
                                                  :
                       Defendants.                :
                                                  :


                                          COMPLAINT

               Plaintiffs, William Hoover and Merissa Hoover, say by way of Complaint against

Defendant, Windsor Group, as follows:


                                        JURISDICTION

       1.      This action arises out of Defendant’s repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiffs’

personal privacy by Defendant and its agents in their illegal efforts to collect a consumer debt.

       2.      This Court has supplemental jurisdiction over all other claims in this action, as all

such claims arise out of the same case or controversy as Defendant’s violations of the FDCPA

pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in the U.S. District Court for the District of New Jersey pursuant

to 28 U.S.C. § 1391(b), as Defendant transacts business in the State of New Jersey.
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                                            PARTIES

       4.      The Plaintiffs, William Hoover and Merissa Hoover (“Plaintiffs”), are adult

individual residing in Manahawkin, New Jersey, and Lanoka Harbor, New Jersey, respectively,

and each are a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

       5.      The Defendant Windsor Group (“Windsor”), is a Texas business entity with an

address of 10670 North Central Expressway, Suite 440, Dallas, Texas 75231, operating as a

collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Windsor and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      Windsor at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.      The Plaintiff, Merissa Hoover, incurred a financial obligation (the “Debt”) to

original creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Windsor for collection, or

Windsor was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).



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   B. Windsor Engages in Harassment and Abusive Tactics

       12.     The Plaintiff, Merissa Hoover, fell behind on her automobile loan payments.

       13.     The Defendants called the Plaintiffs repeatedly at least five times a day and in an

attempt to collect the Debt.

       14.     The Defendants called the Plaintiffs and in an attempt to collect the Debt and

failed to inform that Plaintiffs that any information Plaintiffs disclose would be used for

collection purposes.

       15.     The Defendants called the Plaintiffs and failed to disclose their identity.

       16.     The Defendants called to Stephanie Hoover and demanded payment in full or

otherwise she “will be walking!”

       17.     The Defendants called the Plaintiffs and demanded information about location of

the automobile.

       18.     The Defendants called Merissa Hoover’s brother and sister-in-law, William

Hoover and Stephanie Hoover, and disclosed information about the Debt.

       19.     The Defendants were rude, abusive and condescending when speaking to the

Plaintiffs, stating to Stephanie Hoover “Ma’am you’re a grown woman! Look it up on the

computer, the internet, we’re an investigator! You can’t do anything!”

       20.     Furthermore, the Defendants yelled at Stephanie Hoover, causing her to break

down into tears, saying “What do you think I'm stupid, like you? Do you think because your

husband is a correction officer he’s some big deal?”

       21.     The Defendants called the Plaintiffs and left a message stating: “This is agent

Huff! Your name has come up in a legal matter. I need a three minute statement from you

instantly or you can suffer consequences.”


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        22.    The Defendants failed to send the Plaintiffs a letter informing them about the

nature of the Debt of their rights under federal law.


   C. Plaintiff Suffered Actual Damages


        23.    The Plaintiffs have suffered and continue to suffer actual damages as a result of

the Defendants’ unlawful conduct.

        24.    As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiffs suffered and continue to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

        25.    The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.


                                  COUNT I
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. § 1692, et seq.

        26.    The Plaintiffs incorporate by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        27.    The Defendants’ conduct violated 15 U.S.C. § 1692b(1) in that Defendants

contacted third parties and failed to identify themselves and further failed to confirm or correct

location information.

        28.    The Defendants’ conduct violated 15 U.S.C. § 1692b(2) in that Defendants

informed third parties of the nature of the Plaintiff’s debt and stated that the Plaintiff owed a

debt.




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          29.     The Defendants’ conduct violated 15 U.S.C. § 1692b(3) in that Defendants

contacted third parties in regards to the Plaintiff’s debt on numerous occasions, without being

asked to do so.

          30.     The Defendants’ conduct violated 15 U.S.C. § 1692c(b) in that Defendants

communicated with individuals other than the Plaintiff, the Plaintiff’s attorney, or a credit

bureau.

          31.     The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

profane and abusive language when speaking with the consumer.

          32.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

          33.     The Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that Defendants placed

calls to the Plaintiff without disclosing the identity of the debt collection agency.

          34.     The Defendants’ conduct violated 15 U.S.C. § 1692e(1) in that Defendants falsely

represented to the Plaintiff that it was affiliated with the United States or a government entity.

          35.     The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that Defendants

threatened the Plaintiff with seizure of his property if the Debt was not paid.

          36.     The Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that Defendants

threatened to take legal action, without actually intending to do so.

          37.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

          38.     The Defendants’ conduct violated 15 U.S.C. § 1692e(11) in that Defendants failed

to inform the consumer that the communication was an attempt to collect a debt.



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        39.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that Defendants

failed to send the Plaintiff a validation notice stating the amount of the Debt.

        40.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(2) in that Defendants

failed to send the Plaintiff a validation notice stating the name of the original creditor to whom

the Debt was owed.

        41.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(3) in that Defendants

failed to send the Plaintiff a validation notice stating the Plaintiff’s right to dispute the Debt

within thirty days.

        42.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that Defendants

failed to send the Plaintiff a validation notice informing the Plaintiff of a right to have

verification and judgment mailed to the Plaintiff.

        43.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        44.     The Plaintiff is entitled to damages as a result of Defendants’ violations.


                                  COUNT II
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

        45.     The Plaintiffs incorporate by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        46.     The Restatement of Torts, Second, § 652(b) ascribes liability for intrusion upon

seclusion where one individual, “intentionally intrudes…upon the solitude or seclusion of

another, or his private affairs or concerns,” and further states that “[said individual] is subject to

liability to the other for invasion of privacy, if the intrusion would be highly offensive to a

reasonable person.”



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       47.     New Jersey further recognizes Plaintiffs’ right to be free from invasions of

privacy. Thus, the Defendants violated New Jersey state law.

       48.     The Defendants’ telephone calls to the Plaintiff were so persistent and repeated

with such frequency as to be considered, “hounding [the Plaintiff],” and “a substantial burden to

[his] existence,” amounting to an invasion of privacy as defined by the Restatement of Torts,

Second, § 652(b).

       49.     The Defendants’ conduct of engaging in the foregoing illegal collection activities

resulted in multiple invasions of privacy that would be considered highly offensive to a

reasonable person.

       50.     As a result of the intrusions and invasions enumerated above, the Plaintiffs are

entitled to actual damages from the Defendants in an amount to be determined at trial.

       51.     All acts of the Defendants and their agents were committed with malice, intent,

wantonness, and recklessness, and as such, the Plaintiffs are entitled to punitive damages from

the Defendants.


                                      PRAYER FOR RELIEF

             WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                     1. Actual damages including, but not limited to, the emotional distress the

                        Plaintiff has suffered (and continues to suffer) as a result of the intentional,

                        reckless, and/or negligent FDCPA violations and intentional, reckless, and/or

                        negligent invasions of privacy pursuant to 15 U.S.C. § 1692k(a)(1);

                     2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

                     3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                        § 1692k(a)(3);


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                4. Liquidated damages;

                5. Punitive damages; and

                6. Such other and further relief that the Court may deem just and proper.


                  TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: March 24, 2011

                                           Respectfully submitted,

                                           By: /s/ Sofia Balile

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